889 F.2d 1085Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.George Kevin SLEDGE, Plaintiff-Appellant,v.Fred CUMMINGS, Lacy D. Mcfadyen, Defendants-Appellees.
    No. 88-7346.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 30, 1989.Decided Oct. 6, 1989.
    
      George Kevin Sledge, appellant pro se.
      Lucien Capone, III, Office of the Attorney General of North Carolina, for appellees.
      Before HARRISON L. WINTER, WIDENER, and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      George Kevin Sledge appeals from the district court's order granting partial summary judgment in favor of one defendant and dismissing the other.  We dismiss the appeal for lack of jurisdiction.
    
    
      2
      Under 28 U.S.C. Sec. 1291 this Court has jurisdiction over appeals from final orders.  A final order is one which disposes of all issues in dispute as to all parties.  It "ends the litigation on the merits and leaves nothing for the court to do but execute the judgment."    Catlin v. United States, 324 U.S. 229, 233 (1945).  Here the district court specifically retained jurisdiction over the action so that it could rule on the merits of the claims raised in Sledge's supplementary complaint.
    
    
      3
      As the order appealed from is not a final order, it is not appealable under 28 U.S.C. Sec. 1291.  The district court has not directed entry of final judgment as to particular claims or parties under Fed.R.Civ.P. 54(b), nor is the order appealable under the provisions of 28 U.S.C. Sec. 1292.  Finally, the order is not appealable as a collateral order under Cohen v. Beneficial Industrial Loan Corp., 337 U.S. 541 (1949).
    
    
      4
      Finding no basis for appellate jurisdiction, we dismiss the appeal as interlocutory.  We dispense with oral argument because the dispositive issues have been decided authoritatively.
    
    
      5
      DISMISSED.
    
    